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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND
                           (Greenbelt Division)


 KILMAR ARMANDO ABREGO
   GARCIA, et al.,

 Plaintiffs,
                                              No. 8:25-cv-00951-PX
                    v.

 KRISTI NOEM, Secretary of
   Homeland Security, et al.,

 Defendants


   [UNDER SEAL] NOTICE OF EX PARTE STATUS REPORT AND
          MOTION TO EXTEND STAY OF DISCOVERY
      Defendants provide notice that earlier this morning Defendants

submitted a declaration to the Court ex parte and under seal. For the reasons

set forth in today’s declaration, as well as prior in camera testimony,

Defendants submit that a further stay of the proceedings is warranted.

Continuing with discovery at this juncture is likely to interfere with

Defendants’ efforts to resolve this litigation. Plaintiffs are not likely to be

prejudiced by an additional one-week stay of discovery as the short stay

continues to support their litigation aims. Defendants conferred with

Plaintiffs’ counsel regarding this request. Plaintiffs do not oppose a stay of up

to seven days, provided that the Court believes that the government is

continuing to pursue those compliance efforts in good faith, but defers to the
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Court as to the length of the stay. For similar reasons, Defendants also request

that the status conference set for today be continued.



                                        Respectfully submitted,

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                                        Civil Division

                                        /s/ Drew Ensign
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      Dated: April 29, 2025             Office of Immigration Litigation

                                        Counsel for Defendants
